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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

BRANDON J. JAMES,                                                                     PLAINTIFF
ADC #171937

v.                                   4:20-cv-0894-KGB-JTK

WENDY KELLEY, et al.                                                                DEFENDANTS

                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Brandon J. James’s complaint is dismissed without prejudice.           The relief sought is denied.

Dismissal of this action counts as a “strike” within the meaning of 28 U.S.C. § 1915(g), and the

Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from the

Order and Judgment dismissing this action is considered frivolous and not in good faith.

       So adjudged this 21st day of October, 2020.



                                                              _____________________________
                                                              Kristine G. Baker
                                                              United States District Judge
